     Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 1 of 45



           IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                    :
SIMON CAMPBELL and PENNSYLVANIANS :
FOR UNION REFORM,                   :
                  Plaintiffs,       :              No. 2:18-CV-892-JD
                                    :
          v.                        :
                                    :
PENNSYLVANIA SCHOOL BOARDS          :
ASSOCIATION, MICHAEL FACCINETTO,    :
DAVID HUTCHINSON, OTTO W. VOIT III, :
KATHY SWOPE, LAWRENCE FEINBERG,     :
ERIC WOLFGANG, DANIEL O’KEEFE,      :
DARRYL SCHAFER, THOMAS KEREK,       :
and LYNN FOLTZ,                     :
                  Defendants.       :


 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
 TO SANCTION COUNSEL FOR PLAINTIFFS FOR VIOLATIONS OF
          THE RULES OF PROFESSIONAL CONDUCT

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       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 2 of 45



I.    INTRODUCTION

      Defendants, Pennsylvania School Boards Association (“PSBA”) and

Michael Faccinetto, David Hutchinson, Otto W. Voit, III, Kathy Swope, Lawrence

Feinberg, Eric Wolfgang, Daniel O’Keefe, Darryl Schafer, Thomas Kerek, and

Lynn Foltz (the “Individual Defendants”), through their counsel, the Levin Legal

Group, P.C., hereby submit this Memorandum of Law, and Opinion Letter of legal

ethics expert, Robert H. Davis, Jr. Esquire (“Davis”)(Exhibit D-165)1, in support of

their Motion to Sanction Plaintiffs’ Counsel for Violations of the Rules of

Professional Conduct.

II.   BASIS FOR THE MOTION

      This Motion has been necessitated by a course of improper and unethical

conduct on the part of Plaintiffs’ counsel Jacob Cohn, Esquire in which he attacks

and attempts to undermine the attorney-client relationship between the Individual

and corporate Defendants and the various counsel of record representing them in

this action and underlying related actions. Cohn did so, in part, by using email as a

subterfuge to improperly communicate with Individual Defendants to make

baseless threats of legal action against them and the local school boards they serve


1
  The Opinion Letter sets out the bases of Mr. Davis’s opinion that Cohn and his
firm violated the Rules of Professional Conduct. Mr. Davis’s CV is in Exhibit D-
165 behind the opinion letter and details Mr. Davis’s extensive experience in the
field of legal ethics.

                                         2
        Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 3 of 45



on, and to otherwise disparage their counsel of record and the quality of the

representation they were getting. All of this was done with the obvious goals of

influencing these Defendants’ decision-making about the litigation itself, to sow

distrust between them and their counsel of record, and, in the case of the corporate

defendant PSBA, to attempt to alter the makeup of the Defendant’s own corporate

board of directors. Cohn amplified these attacks by using irrelevant deposition

questioning of Individual Defendants to disparage the attorneys representing them

in various aspects of the litigation, again impugning the quality of the

representation and advice they were receiving and suggesting that counsel were

failing to inform them of important matters.

      This conduct is demonstrated in: (1) a set of emails that Cohn sent to a group

of School District Solicitors (“the Solicitor Emails”); (2) deposition questions in

which Cohn attacks the quality of the legal representation Defendants are receiving

in this case; and (3) deposition questions to a number of witnesses in which Cohn

suggests to Defendants and that the Court has an unfavorable opinion of Bochetto

and Lentz and that the Bochetto firm is unethical.       (“the Bocchetto & Lentz

Questions.”). 2


2
  We wish to note that Attorney Mary Catherine Roper played no role in the
Solicitor emails or the objectionable questioning by Cohn. Cohn did not copy
Roper on the emails, as he did not copy counsel for the Defendants on the emails
that he sent to the solicitors.

                                         3
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 4 of 45



      In the Solicitor Emails, Cohn threatens to sue the School Districts whose

Board members are potential witnesses in this case, and Cohn disparages counsel

for Defendants, Michael I. Levin, as driving a “crazy train” and being

professionally inept. In another email to third-parties, Cohn referred to another

defense counsel, Susan Wiener (“Weiner”), 3 as “clueless.”     Copies of Cohn’s

emails are attached to this Memorandum of Law.

      In deposition questions of PSBA Board members in this case, Cohn

suggested that Defense counsel are not providing Defendants proper representation

contending, for example, that counsel have conflicts of interest, did not properly

accept of service of the Complaint, and failed to inform Defendants of Plaintiffs’

settlement overtures. (Voit Depo., pp. 47-58, Exhibit D-88; Schafer Depo., pp. 80-

100, Exhibit D-166). Cohn also used the deposition questioning of PSBA Board

members as an opportunity to disparage PSBA’s counsel in the State Tort Action,

Bochetto & Lentz (“B&L”), and to imply that the Court agrees with that view.

      In his questioning of Defendant, Kathy Swope, referring to Bochetto &

Lentz, Cohn asked: “Nobody ever told you about their nasty reputation?” (Swope

Dep. p. 35, Exhibit D-87). In his questioning of Defendant Faccinetto, Cohn asked

the following questions regarding B&L:

3
 Wiener entered her appearance in this matter on behalf of Defendant Michael
Faccinetto (“Faccinetto”) on May 29, 2018. Wiener was retained by an insurance
carrier under a personal insurance policy that Faccinetto had.

                                         4
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 5 of 45



            Q. Do you know anything about Bochetto & Lentz's reputation for
            legal scholarship?

            MR. BROWN: Objection.

            THE WITNESS: I do not, no.

            BY MR. COHN:

            Q. Do you know anything about Bochetto & Lentz's reputation as
            bullies?

            MR. BROWN: Objection.

            THE WITNESS: I do not.

            BY MR. COHN:

            Q. Anybody tell you what the judge's reaction was when it was
            mentioned that Bochetto & Lentz was counsel in the underlying
            action?

            MR. BROWN: Objection.

            THE WITNESS: I don't recall if they did.

            BY MR. COHN:

            Q. Do you remember anybody telling you about the Christmas card
            that the judge recalled receiving one year from Bochetto & Lentz with
            an AK 47 on the front cover of it?

            MR. BROWN: Objection to relevance.

            THE WITNESS: Did not.

            BY MR. COHN:

            Q. Was it the intention of PSBA in retaining Bochetto & Lentz to hire
            an aggressive law firm to really teach Simon Campbell a lesson?

            MR. BROWN: Objection.

(Faccinetto Dep. pp. 154-155, Exhibit D-69)(emphasis added).

                                       5
        Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 6 of 45




III.   FACTS

       A.    The PSBA.

       The PSBA is a voluntary nonprofit corporation and membership association.

Membership in PSBA is generally limited to Public School Entities 4 (“Entity

Members”) and the individual School Directors5 (“Individual Members”) who are

on the School Boards of Member Entities. No individual School Board director

can be a member of PSBA if the Public School Entity on which he/she serves is

not a member of PSBA. 6 The rights of PSBA Member Entities regarding PSBA



4
  The Public School Entities that are members of PSBA include and are limited to
school districts, Intermediate Units, public vocational-technical schools and
community colleges. The total universe of Public School Entities eligible for
membership in PSBA are approximately 500 school districts, 29 intermediate
units, 80 public vocational-technical schools and 14 community colleges, for a
total of about 623 Public School Entities. See, PA Dept. of Ed. Website, Tab for
Schools/Sub-Tab for Types of Schools. Of that potential universe, approximately
598 Public School Entities are currently members of PSBA. Membership is totally
voluntary. Public charter schools are not eligible for membership in PSBA.
5
  As used in this Memorandum, the phrase “School Director(s)” means members of
the boards of school directors of Public School Entities.
6
  There is a limited exception with respect to the President, and Immediate Past
President. Article IV, Section 4 of the Bylaws (Exhibit D-36) provides: “Any
individual member under Article I, Section 2, subsections A and B, is eligible to
hold an office or other elected position in the Association, so long as membership
status continues; provided, however, that a person who was a member when
elected president or who stood to assume the presidency by virtue of having been
elected president-elect in accordance with this Article, and has served as president-
elect shall be entitled to serve the full term of the president regardless of the fact
                                          6
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 7 of 45



matters are limited as set forth in Pennsylvania’s Non-profit Corporation Code, 15

Pa.C.S.A. §5501, et seq., and PSBA’s Bylaws.

      As relevant to this matter, nothing in PSBA’s Bylaws gives PSBA members

a right or voice with respect to determining when and who PSBA will sue. PSBA

members have no right to control or otherwise participate in decisions about

litigation brought by PSBA.    Consequently, PSBA members have no right to

require withdrawal of cases brought by PSBA.

      Members of PSBA who are not on the Governing Board or officers have

limited rights through their membership and no authority to cause PSBA to take

any action or to take any action on PSBA’s behalf. Public School Entities can

withdraw from membership in PSBA at any time.

      B.    The PSBA Governing Board.

      PSBA has a board of directors that is called the “Governing Board.”

(Bylaws, Article III and Article IV, Section 8, Exhibit D-36).      Although the

eligibility standards generally require Governing Board members to be school

directors, service on the PSBA Governing Board is not part of the individual’s

service to his or her school district or school board and is totally unrelated to

school board services. The duties of PSBA’s Board are unrelated to service on a

school board. (Faccinetto Declaration, ¶6, Exhibit D-74). Decisions of School

that such person may cease to be a member of the board of the entity from which
individual membership was derived.”
                                        7
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 8 of 45



Board members to serve on PSBA’s Governing Board are totally private decisions,

are voluntary, and are outside of any duties School Board members have as to their

respective School Districts. (Faccinetto Declaration, ¶¶5-16 Exhibit D-74; Freund

Declaration, ¶¶9, 11, 23, 24, 32, Exhibit D-70; Russell Declaration, ¶¶27, Exhibit

D-71; King Declaration, ¶¶14-15, D-75). When PSBA Governing Board members

act, they owe their fiduciary duties to the PSBA and not to their home school

districts and they are not representing their home school districts. (Faccinetto

Declaration, ¶7, Exhibit D-74; Freund Declaration, ¶¶8-9, Exhibit D-70; Russell

Declaration, ¶27, Exhibit D-71; King Declaration, ¶7, D-75). Under Pennsylvania

law, directors of non-profit corporations owe their fiduciary duties to the

corporation, and not to the school districts on which they serve. 15 Pa.C.S.A.

§5712(a) and (b); In re Lemington Home for Aged, 659 F.3d 282, 290 (3d Cir.

2011). When serving for PSBA, the Governing Board members are serving as

private citizens, even though they are eligible for such service because they are

school board directors. (Faccinetto Declaration, ¶¶5-6, Exhibit 74).

      PSBA Governing Board members serve PSBA on their own time and at their

own expense or the expense of PSBA. 7 (Faccinetto Declaration, ¶¶5, 10, Exhibit


7
  PSBA reimburses its Governing Board members for their out-of-pocket travel
expenses. (Faccinetto Declaration, ¶10, Exhibit D-74). PSBA does not reimburse
Governing Board members lost wages if they have to take time off from the “day
job,” so to speak. In other words, the PSBA Governing Board members, who are
not paid for their service on the PSBA Governing Board, are not compensated for
                                         8
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 9 of 45



D-74). Their decision to serve PSBA and to run for office with PSBA is their own

private decision. (Id.). No school board can force any of its members to run for

office with PSBA or to terminate their service to PSBA. (Freund Declaration,

¶¶25-26, Exhibit D-70).8 When incurring travel expenses related to their service to

PSBA, PSBA pays or reimburses them for such expenses, not their school districts.

(Faccinetto Declaration, ¶10, Exhibit D-74). Governing board members are not

members of the Public School Employee Retirement System.                 (Faccinetto

Declaration, ¶12, Exhibit D-74). When serving on the PSBA Governing Board,

these individuals do not take any action that is to control or govern the way in

which public school entities operate. (Freund Declaration, ¶11, Exhibit D-70). On

their personal time that they devote to PSBA, even if they lose salary from their
outside employment. (Faccinetto Declaration, ¶10, Exhibit D-74).
8
  The Plaintiffs take the position that the home school districts can terminate their
membership in the PSBA and thereby terminate the right of the individual school
director to serve on the PSBA Governing Board. The Plaintiffs further take the
position that by failing to withdraw from membership in PSBA, the home school
districts have “ratified” the actions of the PSBA Governing Board Members. For
example, it his May 13, 2018, email to school district solicitors, Cohn said: “It is
my clients’ position that, by permitting its individual director to continue to serve
on the Governing Board of PSBA while PSBA filed, amended, and to this day
refuses to dismiss with prejudice its unconstitutional SLAPP Suit, each of your
district clients has ratified the prior and continuing conduct of its individual
directors acting as PSBA Governing Board directors.” Not only is there no legal
precedent supporting these notions, but it is suggested that if a school board were
to terminate membership in PSBA for the sole reason of preventing a board
member from serving on the PSBA Governing Board, that the school board would
be violating the free associational rights of the individual who wants to serve
PSBA.

                                         9
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 10 of 45



the contrary, the actions by the PSBA Governing Board are related to the business

of PSBA. (Freund Declaration, ¶11, Exhibit D-70).

      C.     Plaintiffs’ Complaint and Theory of State Action Alleged Therein

      On February 28, 2018, Plaintiffs, Simon Campbell (“Campbell”) and

Pennsylvanians for Union Reform (“PFUR”) (jointly, “Plaintiffs”), filed their

Complaint in this case. Cohn is the lead attorney for Plaintiffs. (Complaint, p. 28,

Exhibit D-91).

      The Complaint names the PSBA and ten individuals as Defendants. Seven

of the Individual Defendants are currently on the PSBA Governing Board, and

three are former PSBA Governing Board members. The former PSBA Governing

Board members who are being sued were on the PSBA Governing Board when the

“State Tort Action” was filed by PSBA.

      In their Complaint, Plaintiffs did not name as a defendant any Public School

Entity.9 (See generally, Complaint, Exhibit D-91). The Complaint alleges that in


9
  It is the position of the PSBA that there is no basis for Campbell and PFUR to
bring Public School Entities into this suit as they had and have no connection to the
acts complained of by the Plaintiffs, other than being members of PSBA. We are
unaware of any legal theory that holds members of voluntary membership
associations legally responsible for the actions of the association merely because
they are members. Indeed, as discussed below, the opposite is true. See, 15
Pa.C.S.A. §5553(a)(Non-Profit Corporation Law); Fraim v. Katz, 68 Pa. D. & C.2d
567, 574 (Phila. CCP 1975); In re Mushroom Direct Purchaser Litigation, 514 F.
Supp. 2d 683 n. 13 (E.D. Pa. 2007); In re Mushroom Direct Purchaser Litigation,
2008 WL 583906, *3 (E.D. Pa. 2008).

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       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 11 of 45



retaliation for Plaintiffs’ exercise of their First Amendment rights, which involved,

among other things, the service of numerous Right to Know Law requests on the

Districts, PSBA filed a state court lawsuit against Plaintiffs for “Defamation,

Tortious Interference with Contractual Relations, and Abuse of Process.”

(Complaint, ¶46, Exhibit D-91)(“the State Tort Action”).

      The Complaint avers that PSBA filed the State Tort Action as a “state actor”

and that the filing of the State Tort Action was a “state action.” Plaintiffs further

assert that each of the “Individual Defendant PSBA Governing Board members,

acting under the color of state law, voted to cause PSBA to file the “State Tort

Action.” (Complaint, ¶45, Exhibit D-91)(emphasis added).

      Plaintiffs contend that, even if PSBA is not a private actor, state action

existed because PSBA Governing Board members approved the state court lawsuit

based upon their authority as School Board members. (Complaint, ¶86, Exhibit D-

91).10 The Defendants vigorously disagree with this contention. The approval of

the filing of the State Tort Action had nothing to do with their service, duties or

authority as School Board members. Service as a School Board member is simply

an eligibility criterion for service on the PSBA Governing Board. (Bylaws, Article


10
  In Campbell’s deposition, Campbell asserted that School Boards have “ratified”
the State Tort Action that PSBA filed against Campbell because the School Boards
have not cancelled their memberships in PSBA since the lawsuit was filed.
Campbell Depo. Trans., p. 177, Exhibit D-90).

                                         11
      Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 12 of 45



I, Section 2, Exhibit D-36). When serving on the PSBA Governing Board, the

individual directors are not acting “based on their authority as School Board

members.” Indeed, under established Pennsylvania law, individual school board

directors have no individual power or authority to act for or on behalf of their

school districts—they act only collectively as a board member of a Public School

Entity at a public meeting in accordance with the School Code and Sunshine Acts.

Case law has made it clear that school directors have no individual powers outside

of the school board and school board meetings. 11 Simply stated, no school board


11
  Bangor Area Educ. Ass'n v. Angle, 720 A.2d 198, 201 (Pa.Cmwlth. 1998), aff'd,
561 Pa. 305, 750 A.2d 282 (2000)(individual school board members lacked
authority to act unilaterally in reviewing teacher personnel records under guise of
carrying out responsibilities of board as whole); Sampson v. Sch. Dist. of
Lancaster, 262 F.R.D. 469, 479 (E.D. Pa. 2008)(school board president had no
individual power or authority and could not waive attorney-client privilege on
behalf of school district under Pennsylvania law without approval of board).
Explaining that individual school board members, not even the president, have
power or authority to act for the school district, the Court in Sampson said:

      [t]he law in Pennsylvania is clear that the president of a school board
      lacks the unilateral authority to bind the School District to actions
      such as the making of contracts in the absence of approval by a
      majority of the board of school directors.” (Defs.' Mem. of Law at 9)
      (citing Albert Gallatin Area Sch. Dist. v. Penn Transp. Servs., Inc.,
      704 A.2d 184 (Pa.Cmwlth.1997); Sch. Dist. of Phila. v. Framlau
      Corp., 15 Pa.Cmwlth. 621, 328 A.2d 866 (1974)). Defendants note
      that the statute on which Plaintiff relies grants the school board
      president “authority to act on behalf of the School District, but only
      when authorized by the Board of School Directors in accordance with
      the law.” (Defs.' Mem. of Law at 9.) For example, the school board
      president “when directed by the board, shall execute any and all
      deeds, contracts, warrants to tax collectors, reports, and other
                                        12
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 13 of 45



took any action to authorize or ratify the actions of the individuals serving on the

PSBA Governing Board in their private capacities to approve or ratify the PSBA

Tort Action. (Faccinetto Declaration, ¶9, Exhibit D-74). Conspicuously absent

from the Complaint is any allegation that the board of any Public School Entity

voted in favor of the State Tort Action filed against Campbell or had any authority

to control whether PSBA sued Plaintiffs in state court. (See generally, Complaint,

Exhibit D-91).

      D.    Attorney Cohn did not Seek Discovery Regarding the School
            Districts’ Alleged Role in the State Tort Action Before Making
            Litigation Threats Against the Districts for Their Alleged Role in
            the Action

      In the Solicitor Emails, Cohn made threats to third parties to sue School

Districts and their Board members due to their alleged role in the State Tort

Action, even though the School Districts had no role. At the time the threats were

made, Plaintiffs had not sought through discovery any meaningful information



      papers....” 24 Pa. Stat. § 4–427 (2008) (emphasis added). “[The school
      board president] shall in no case, except as this section otherwise
      provides, sign any order for any sum unless the same has first been
      acted upon and approved by the board ....” Id. (emphasis added).

Sampson v. Sch. Dist. of Lancaster, 262 F.R.D. 469, 479 (E.D. Pa. 2008)(Emphasis
added)




                                         13
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 14 of 45



about the Districts and their Board members’ purported roles in the State Tort

Action. Further, through the discovery process, Plaintiffs failed to adduce any

evidence that any school district had any role in the matters about which the

Plaintiffs complain. 12

      E.     Subjects on which School Board Members are Witnesses

      From the beginning of this case, Cohn has known that School Board

members may be witnesses in this case. In the Plaintiffs’ Initial Disclosures,

      12
         In late March and early April 2018, Plaintiffs served upon PSBA their first
written discovery requests. On or about March 29, 2018, Plaintiffs served their
First Set of Requests for Production of Documents. (“First RFP”) (Exhibit D-63).
On or about April 2, 2018, Plaintiffs served their First Set of Requests for
Admissions (“First RFA”) (Exhibit D-65) upon the Defendants.

       Combined, the Plaintiffs’ First RFA and First RFP contain nearly 300
separate discovery requests. These discovery requests do not seek in any
meaningful way information or records regarding the role of the Public School
Entities that Cohn is alleging in his threatening emails.

       Depositions in this case began on or about May 22, 2018. Therefore, no
information from depositions existed prior to May 22, 2018. Since then,
depositions of the following people were taken by the Plaintiffs on the following
dates: [cont’d on next page]

                  Witness                              Date of Deposition
  Stuart Knade                               May 22, 2018
  Darryl Schafer                             May 23, 2018
  Kathy Swope                                May 29, 2018
  Michael Faccinetto                         May 30, 2018
  Otto Voit, III                             May 30, 2018
  Nathan Mains                               June 1, 2018
  Emily Leader                               June 25, 2018


                                        14
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 15 of 45



Exhibit D-64, that Cohn served on the undersigned, Cohn listed among other

potential witnesses the following:

      Representative(s) of PSBA member organizations, including but not
      limited to, public school districts, community colleges, Intermediate
      Units, and technical schools, etc.

(Pls’ Initial Disclosures, p. 4, Item 18 in a chart, Exhibit D-64).

      PSBA agrees with Cohn that School Board members of PSBA Member

Entities are and always have been potential witnesses in this case. School Board

members may be witnesses on the subjects listed below and possibly others.

             1.     The lack of involvement in or control over the State Tort

Action;

             2.     The lack of communications with Governing Board members

about the State Tort Action;

             3.     Right to Know Law (“RTKL”) Requests Campbell served on

Public School Entities;

             4.     PSBA’s guidance to Public School Entities on responding to

Campbell’s RTKL Requests;

             5.     School District resources needed to respond to Campbell’s

RTKL requests;

             6.     Campbell’s communications with the School Districts about the

RTKL requests;


                                           15
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 16 of 45



             7.    Campbell’s communications with PSBA officials about the

RTKL requests and other matters;

             8.    Campbell’s legal threats communicated to the School Districts

regarding the RTKL requests;

             9.    The roles in PSBA of Member Entities;

             10.   Reasons for membership in PSBA by PSBA Member Entities;

             11.   Decisions of School Districts’ Board Members to also serve on

PSBA’s Governing Board;

             12.   Lack of control of School Boards over PSBA; and

             13.   Lack of control that Public School Entities exercise over School

Board members in their capacities as members of PSBA’s Governing Board.

      Consequently, when he sent the Solicitor Emails threatening suit, Cohn

knew that he was threatening potential witnesses in this case.

      F.     Cohn’s Threatening Emails to Solicitors

      Beginning on May 13, 2018, Cohn sent the Solicitor Emails in which he

threatened to sue a group of School Districts that each had a Board member on

PSBA’s Governing Board. In those emails, Cohn pressured these School Districts

to cancel their PSBA memberships, and he made disparaging remarks about the

professionalism and competence of counsel for PSBA, Levin, and co-counsel for

Faccinetto, Susan Weiner.


                                         16
      Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 17 of 45



      Based upon their duties as counsel, Solicitors transmitted Cohn’s emails,

and/or informed, the School Districts and their Boards of Directors who have as

members the Individual Defendants in this case.       (Freund Affidavit, ¶¶20-21,

Exhibit D-70; King Declaration, ¶11, Exhibit D-75).

      Remarkably, Cohn did not copy counsel for the Defendants on the Solicitor

Emails (Exhibits D-39, 40, 55, 57, 58, 59 and 60). That was so even though it was,

or should have been, clear to Cohn that his emails would be provided to the School

Districts’ Board members who included Levin’s clients, the Individual Defendants

in this case. (Freund Declaration, ¶¶20-21, Exhibit D-70; King Declaration, ¶11,

Exhibit D-75).

      Moreover, Cohn suggested to the Solicitors that the disclosure of his emails

to counsel for Defendants would result in some form punishment to the Solicitors.

(Freund Affidavit, ¶¶20-21, Exhibit D-70).

            1.    The May 13 Email to Solicitors.

      On May 13, 2018, Cohn sent an email (Exhibit D-39)(“May 13 Email”) to

ten lawyers who each serve as Solicitors for the school districts for which the

Individual Defendants in this case are/were board members.13 Cohn threatened to



13
  The School Districts identified in the Complaint as having Board members on
PSBA’s Governing Board are the following: Bethlehem Area School District, State
College Area School District, Muhlenberg School District, Lewisburg School
District, School District of Haverford Township, Central York School District,
                                        17
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 18 of 45



sue the School Districts, and their Boards of Directors, on the basis that the School

Boards have members who also serve on the PSBA Governing Board.                  Cohn

called upon the School Districts either to: (1) demand that their Board members

who serve on the PSBA Board cause PSBA to withdraw the State Tort Action; or

(2) cancel the Districts’ memberships in PSBA which, in turn, would remove their

Board members from PSBA’s Governing Board and prevent the Board members

from further service on PSBA’s Board.14 Cohn suggested that so long as the

School Districts remain members of PSBA, the Districts were ratifying PSBA’s

purportedly unconstitutional State Tort Action against the Plaintiffs, would be sued

on that basis, and had sizable and growing liability for damages. Cohn’s May 13

email states:

      Dear Counsel,

      As I expect each of you is already aware, together with the ACLU, I
      am co-counsel for Plaintiffs, Simon Campbell and Pennsylvanians for
      Union Reform, in the Counter-SLAPP Suit, First Amendment
      Retaliation civil rights lawsuit against PSBA and ten of its current and
      former directors pending in the United States District Court for the
      Eastern District of Pennsylvania. I am writing to you because I

Northgate School District, Northwestern Lehigh School District, Kane Area School
District, and Wilmington Area School District.
14
   As indicated earlier, it is submitted that a strong argument could be made that if
any District did what Cohn was demanding, then the Districts would be violating
the First Amendment associational rights of the PSBA Governing Board member
affected.


                                         18
      Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 19 of 45



      understand that each of you is the solicitor for one of the home
      school districts of the ten current voting members of PSBA’s
      governing board, seven of whom also are currently named as
      individual defendants:

      *            *           *

      I am reaching out to you at this point because there seems to be
      considerable misunderstanding regarding your respective school
      district client’s legal exposure here, which is substantial and
      increasing.15 Each of the current PSBA Governing Board directors,
      even the ones who began serving in that capacity in January 2018,
      after the SLAPP Suit was underway, bears responsibility for its
      continuation and for PSBA’s continued refusal to dismiss the SLAPP
      Suit with prejudice. And each of them is “acting under color of state
      law” because they are cloaked in the mantle of government
      authority as a director of your client’s school boards and, indeed,
      can serve as PSBA Governing Board Directors solely because each
      of your district clients maintains government entity membership in
      PSBA. Further, each PSBA Governing Board director continues to
      serve in that capacity, and in that capacity to authorize, the
      continuation of the SLAPP Suit, solely because each home school
      district continues to permit his or her participation.

      *            *            *

      In any event, each of your school district clients by now has had
      ample opportunity either to call upon its respective PSBA Governing
      Board member to cause PSBA to dismiss the SLAPP Suit with

15
   It must be kept in mind that there is no legal or factual support for Cohn’s
statement. The law is clear that members of membership corporations like PSBA
have not liability simply for being a member. The Non-profit Corporation Law
provides: “A member of a nonprofit corporation shall not be liable, solely by
reason of being a member, under an order of a court or in any other manner for a
debt, obligation or liability of the corporation of any kind or for the acts of any
member or representative of the corporation.” 15 Pa.C.S.A. § 5553. See also,
Fraim v. Katz, 68 Pa. D. & C.2d 567, 574 (Phila. CCP 1975); In re Mushroom
Direct Purchaser Litigation, 514 F. Supp. 2d 683 n. 13 (E.D. Pa. 2007); In re
Mushroom Direct Purchaser Litigation, 2008 WL 583906, *3 (E.D. Pa. 2008).
                                        19
Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 20 of 45



prejudice, or to cause the removal of that school board member from
PSBA’s Governing Board by discontinuing that district’s own entity
membership in PSBA – which, per PSBA’s attached bylaws, Article
III, Section 4(A)(2), would automatically disqualify that district’s
director from further service on the Governing Board.

It is my clients’ position that, by permitting its individual director to
continue to serve on the Governing Board of PSBA while PSBA
filed, amended, and to this day refuses to dismiss with prejudice its
unconstitutional SLAPP Suit, each of your district clients has
ratified the prior and continuing conduct of its individual directors
acting as PSBA Governing Board directors. It is further my clients’
position that such ratification means that each of your district
clients is acting in concert with PSBA to violate my clients’
constitutional rights and therefore are jointly and severally liable to
my clients in damages pursuant to Section 1983, and otherwise.

My clients don’t need to join your respective school district clients as
defendants in the current injunction phase of this case because an
injunction against PSBA and the seven currently-serving individual
defendants (who have a controlling majority of the Governing Board)
will be sufficient to force the with-prejudice dismissal of the
underlying SLAPP Suit. Once that injunction issues, however, it is my
clients’ intention to amend their Complaint for the damages phase of
the case (which will have entirely new, and separate, discovery and
trial tracks), to add each of your school district clients as defendants.

Thus, to the extent that anyone needs clarification that a claim for
monetary damages is being asserted against each of your district
clients, please consider this a notice of claim. And every day that
passes where your respective district client fails to act either to cause
their PSBA Governing Board director to cause PSBA to dismiss the
SLAPP Suit, or, alternatively, fails to act to remove its director from
PSBA’s Governing Board by voting to discontinue PSBA entity
membership, is a day that your district client’s exposure to awards in
my client’s favor for substantial compensatory damages and ever-
growing Section 1988 attorneys’ fees, increases.

With all of that being said, Plaintiffs are willing to entertain a
settlement dialogue with any or all of your district clients. Those who

                                   20
      Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 21 of 45



      act swiftly to do everything in their power to cause the prompt
      dismissal of the SLAPP Suit and disavow their prior ratification of
      their own director’s unconstitutional actions under color of state
      law may expect to be able to negotiate far better settlement terms
      than those districts that continue to ratify and support PSBA’s
      SLAPP Suit and their own directors’ role in continuing PSBA’s First
      Amendment retaliation against my clients.

      I hope to hear from some or all of you soon.

(May 13 Email, Exhibit D-39)(emphasis added).

      2.     The May 15 Email to Solicitors.

      On May 15, 2018, Cohn emailed (“May 15 Email”) the same group of

Solicitors that he contacted on May 13. Cohn repeated his litigation threats. Cohn

did not copy Levin, even though he knew or should have known that his email

would be provided to Levin’s clients—the Individual Defendants.        Cohn also

disparaged counsel for the Defendants, Levin, as professionally incompetent,

making “nonsensical filings,” and engaging in “obstructionist discovery tactics.”

Cohn further suggested that Levin should not continue as PSBA’s counsel. (May

15 Email, Exhibit D-40). The May 15 Email states:

      Dear School District Solicitors,

           ***

      So, why am I writing to you again? To be polite. I was very polite to
      Mike Levin and PSBA’s SLAPP Suit counsel, David Heim. I told
      them exactly what was going to happen if they didn’t dismiss PSBA’s
      SLAPP Suit. I gave them multiple opportunities to do so, either for
      nothing, or for a very small fraction of what it s [sic] now going to
      cost to make this problem go away. And now, we are busy cleaning

                                         21
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 22 of 45



      their clocks.

      Now, I am being polite to your school districts and their insurers.
      Like it or not, your clients are all passengers on board Mike Levin’s
      and Nathan Mains’s “Crazy Train” by virtue of your clients’
      sponsorship of the PSBA Governing Board Directors who directed
      the filing, amendment, and maintenance of the SLAPP Suit. To a
      person, these Governing Board directors, many of whom are the
      presidents of the boards of your school district clients, refuse to
      consent to any monetary settlement with my clients. Further, they
      have been trained by Mike Levin to believe that their only fiduciary
      duty in this situation runs to PSBA, not to their home districts that
      sponsor them as PSBA Governing Board members.16 But as we
      wrote to the Court in Plaintiffs’ injunction motion reply brief, filed
      yesterday (copy attached), “[t]he individual Defendants’ status as
      PSBA Governing Board members and their status as elected members
      of public school boards is indistinguishable” in light of PSBA’s own
      bylaws. Obviously, then, the claims against the individual Defendants
      “arise” from their service as members of your client’s own boards.

      Now, we all know what happens to the “Crazy Train” in Ozzy
      Osborne’s song. It’s “going off the rails.” And Mr. Campbell is
      serious as a heart attack about pursuing all responsible parties to
      the fullest extent of the law, including pursuing the individual
      Defendants for non-indemnifiable punitive damages.

      You each now have copies of the Complaint, and the fully-briefed
      injunction motion, and the motion to dismiss. Please make your own
      evaluations of the relative merits of the parties’ legal positions, the
      relative quality of the briefing and representation of your district’s
      directors, and the advisability of permitting Mr. Levin to continue

16
   Cohn’s assertion that School District’s “sponsor” PSBA Governing Board
members is a total fabrication that is devoid of evidentiary support. PSBA
Governing Board members serve without any sponsorship by the School District
on which they serve. They serve regardless of whether their School Board votes
for them, does not vote at all, or votes against them. (See, e.g., King Declaration,
¶13, Exhibit D-75; Faccinetto Declaration, ¶5, Exhibit D-74).



                                        22
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 23 of 45



      representing the individual Defendants under the circumstances.

      Each of your clients is on notice of a claim for monetary damages
      potentially covered under your E&O coverage. Each of your clients is
      on notice of an “occurrence” and/or an “offense” that is reasonably
      likely to give rise to a claim that is potentially covered under your
      client’s GL Coverage. One or both of your client’s E&O and GL
      policies gives your insurer(s) the right to investigate and settle, and
      the right and duty to defend. One or both of your client’s insurance
      policies provides for payment of “costs” as supplementary payments
      outside of indemnity limits. Attorneys fee awards under 28 U.S.C. §
      1988 (civil rights fee-shifting statute) are expressly defined to be part
      of the “costs” of suit. Our fees to date in the federal action alone are
      already several hundred thousand dollars, 17 and increasing rapidly
      as we conduct compressed discovery, deal with Mike Levin’s
      nonsensical filings and obstructionist discovery tactics, and prepare
      for a rapidly-approaching July 23 final injunction trial. And
      PSBA’s eroding E&O policy is expressly excess of any other primary
      policy insuring an individual Defendant containing duty to defend.

      If any of your clients or their insurers would like to get your school
      district client and/or its individual Defendant off the “Crazy Train”,
      please feel free to have someone with settlement authority contact me.
      To be clear, after the final injunction has issued, and the damages
      phase of the case gets underway, it is fully my clients’ intention to
      amend their complaint to add new parties that will include all non-
      settling school district sponsors of the individual Defendants, and the
      price to get off the train will be far higher than it already is.

(May 15 Email, Exhibit D-40)(footnote and emphasis added).

             3.    The May 16 Email to Solicitors.

      On May 16, 2018, Cohn sent another email to the School District Solicitors.

17
   It should be noted that this assertion was made by Cohn on May 15, before a
single deposition had been taken and early in the discovery phase of this litigation.
The court filings by Cohn through that point in time were the Complaint, the
response to the Motion to Dismiss and the Preliminary Injunction materials.

                                         23
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 24 of 45



(“May 16 Email,” Exhibit D-55). Again, Cohn failed to copy Levin. In the May

16 Email, Cohn continued his litigation threats. He also expanded those threats by

suggesting that PSBA should not have learned about the earlier emails, even

though the threatened School Districts have Board members who also serve on the

PSBA’s Governing Board. The May 16 Email states:

      Dear Solicitors,

      It didn’t take very long for one or more of you (or the people that
      you forwarded it to) to forward my below email to PSBA –
      presumably with the assent of the respective school district and its
      insurers. So much for my trying to be polite and send you a
      confidential settlement communication. If any of you, or your
      district’s insurers, actually want to have a productive, confidential
      settlement dialogue, please feel free to reach out to me separately to
      affirm an undertaking of confidentiality.

      In the meantime, the forwarders [of Cohn’s earlier emails to PSBA]
      created documents that are responsive to Plaintiffs’ outstanding
      discovery requests to the existing Defendants that must be identified
      and produced to us pursuant to Defendants discovery obligations
      under the Federal Rules. Please let the sender(s) and their district’s
      insurers know that their districts will not be looked upon favorably
      in settlement discussions as a result of this breach of “etiquette.”

(May 16 Email, Exhibit D-55).

      In this email, Cohn is threatening solicitors that their districts will be treated

less favorably if they or their clients forwarded the emails to PSBA or to Levin. 18


      18
           Rule 1.4 (a)(3) of the Rules of Professional Responsibility requires
attorneys to “keep the client reasonably informed about the status of the matter . .
..” Pa. R.P.C. 1.4(a)(3). It would, consequently, be wholly appropriate for any
solicitor to send copies of Cohn’s emails to the School Boards. It would also be
                                          24
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 25 of 45



             4.     Cohn’s May 2018 Emails to Attorneys John Freund, III and
                    Donald Spry, II of the King Spry Firm

      In the latter part of May 2018, Cohn sent a series of emails to John Freund,

III and Donald Spry, II, of the firm King Spry Herman, Freund and Faul, LLC.

(Exhibits D-57, D-58 and D-60). The King Spry firm is Solicitor for Northwest

Lehigh School District and Bethlehem School District. (Freund Affidavit, ¶12,

Exhibit D-70).

      In the May 2018 emails to Freund and Spry, Cohn continued his threats to

sue these School Districts on the unfounded basis that the Districts “ratified” the

State Court Action because their board members serve on the PSBA Governing

Board. (Exhibits D-57, D-58 and D-60). Continuing his personal attacks on

opposing counsel, Cohn disparaged one of Individual Defendant, Michael

Facinnetto’s, lawyer, Susan Weiner, as “literally clueless.” (Exhibit D-60, second

parag.)(emphasis added). 19

      Freund pointed out to Cohn that his theory of liability for the School

Districts was “frivolous.” (May 29, 2018, email Freund to Cohn, Exhibit D-58 on


wholly appropriate for the Individual Defendants, having obtained Cohn’s emails,
to provide them to PSBA and Levin. For Cohn to suggest that any of this is
inappropriate, or a reason to treat a school district less favorably further highlights
the inappropriateness of Cohn’s conduct.
19
  Ms. Weiner recently withdrew as counsel for Mr. Faccinetto and another lawyer
took her place in that role—Eric Bronstein.

                                          25
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 26 of 45



second page). Freund explained to Cohn the following points:

      . . . Mr. Schafer’s role as a member of the PSBA Governing Board is
      completely independent of his position as a publicly elected member
      of the Northwestern Lehigh School Board. As a former member of
      PSBA’s Executive Board myself, I am aware that members vote their
      conscience and do not require or seek permission of ratification of the
      positions they take on the PSBA Board from their home school
      boards.

      The theory by which you proposed to join NWLSD [Northwest
      Lehigh School District] lacks any evidentiary or legal support . . . .

Id. (brackets added).

             5.    Cohn’s May 2018 Emails to Attorney Cassidy

      In the latter of part of May 2018, Cohn sent a series of emails to Michael

Cassidy, Esquire, who is Solicitor for Cumberland Valley School District. (Exhibit

D-59). In the emails with Cassidy, Cohn continued with his threat to sue the

School District based upon the theory that by doing nothing the District ratified the

State Tort Action. 20 (Exhibit D-59). Cassidy pointed out to Cohn that “while Mr.

Gossert [a Cumberland Valley School District Board member] may be eligible to

serve on the PSBA Board of Directors because of being an elected member of the

Cumberland Valley SD Board of School Directors, he serves on the PSBA Board

of Directors in his individual capacity and not in a representative capacity.”

      20
          As with Cohn’s assertion that School District “sponsor” the PSBA
Governing Board members, Cohn’s assertion that the School District have
“ratified” PSBA’s actions have no support legally or factually. (Faccinetto
Declaration, ¶9, Exhibit D-74).

                                         26
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 27 of 45



(Exhibit D-59, p.3, top of page, May 18 email Cassidy to Cohn)(bracket added).

Cohn continued to disparage counsel for the Defendants accusing Michael Levin of

“trying to cover up his own exceedingly bad advice to his clients . . .,” (Exhibit D-

59, p.3, bottom of page, in May 18, 2018, email Cohn to Cassidy), and being

“motivated by utter hatred of Simon.”21 Id. (emphasis added).

             6.    Cohn’s June 23, 2018, Email to the Solicitors

       On or about June 23, 2018, Cohn again emailed the Solicitors. (“June 23

Email”, Exhibit D-80). Cohn repeated his litigation threats adding the possibility

of the Districts being faced with “Dragonetti claims.” (June 23 Email, Exhibit D-

80).   Cohn claimed that his clients “were no longer interested in entertaining

separate settlement dialogues with your District clients.” (June 23 Email, p.2,

Exhibit D-80). Cohn insisted that the “sponsoring Districts would still be well-

advised to use their absolute ability to remove their sponsored member from

PSBA’s Governing Board either to cause PSBA to end the SLAPP suit or to act to

remove their sponsored member from the Governing Board. (June 23 Email, p.2,

Exhibit 80). This was a continuation of Cohn pressuring Districts to cancel their

PSBA memberships to prevent the Districts’ Board members from serving on

PSBA’s Governing Board.


21
  There is no basis whatsoever for the factual implications underlying this aspect
of Cohn’s disparagement of opposing representation---that Mr. Levin has given
any bad advice or harbors any hatred for Mr. Campbell.
                                         27
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 28 of 45



      G.     Cohn’s Use of Deposition Questioning to Disparage Defense
             Counsel in this Case

      Cohn engaged in questioning of PSBA Board members with the apparent

purpose of attacking the representation they are receiving in this case and

undermining the attorney-client relationship. This is illustrated in the deposition

questioning of Individual Defendants, Otto Voit and Darryl Schafer. (Exhibits D-

88, pp. 47-58 and D-166, pp. 80-100).         Their depositions involved extended

questioning that had nothing to do with the issues in this case and that were clearly

outside of the scope of Rule 26 of the F.R.C.P.         Rather, Cohn implied, and

sometimes asserted, that the witnesses were not being properly represented. For

example, Cohn flatly stated to Voit that “you might want to get your own

independent counsel who does not have a conflict of interest with respect to the

representation of PSBA.” (Voit Depo., p. 48, Exhibit D-88). Cohn suggested to

Schafer that Defense counsel had not properly accepted service of the Complaint

on Schafer’s behalf. (Schafer Depo., p.80-83, Exhibit D-166). Cohn also implied

that counsel was not informing Voit and Schafer of matters regarding settlement.

(Exhibits D-88, pp. 47-58 and D-166, pp. 80-100).

      H.     Cohn’s Disparagement of Bochetto & Lentz to Individual
             Defendants and Suggestion that the Court Joins in those Views

      Bochetto & Lentz, P.C. (“B&L”) represents PSBA in the State Tort Action.

Cohn used deposition questioning of PSBA Board members as a vehicle for


                                         28
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 29 of 45



making personal attacks on B&L and suggesting that the board members had not

been kept appropriately informed by their other counsel about B&L. Cohn’s

questions characterized B&L as not well-respected, “bullies,” not scholarly, “extra

nasty,” as having a practice of suing people for exercising First Amendment rights,

and a hired gun retained to “teach Simon Campbell a lesson.” (Faccinetto Depo.,

pp. 154-156, Exhibit D-69; Swope Depo., pp. 119-120, Exhibit D-87). Moreover,

Cohn even went to far as to suggest in his deposition questions that this Court

holds negative views of B&L. (Faccinetto Depo., p. 154, Exhibit D-69)(Cohn

asks: “Anybody tell you what the judge’s reaction was when it was mentioned that

Bochetto & Lentz was counsel in the underlying action.”).

III.   STANDARD OF REVIEW FOR A MOTION TO DISQUALIFY
       COUNSEL

       The following legal standards apply to this Court’s consideration of this

Motion for Sanctions.

       “Federal courts have inherent authority to supervise the conduct of attorneys

appearing before them.” Jordan v. Philadelphia Housing Authority, 337 F. Supp.

2d 666, 671 (E.D. Pa. 2004)(citing, In re Rite Aid Corp. Sec. Litig., 139 F.Supp.2d

649, 655 (E.D.Pa.2001)).

       The “United States District Court for the Eastern District of Pennsylvania

has adopted the Pennsylvania Rules of Professional Conduct to govern attorneys

appearing before it. See E.D. Pa. Local R. Civ. P. 83.6, Part IV(B).” Jordan, 337

                                         29
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 30 of 45



F. Supp. 2d at 672.

      A trial court may sanction, warn or recommend disciplinary action against

an attorney who has violated a Rule of Professional Conduct. Commonwealth v.

Lambert, 765 A.2d 306, 345-46 (Pa. Super. 2000).

      Counsel may be disqualified if the Court determines on the facts of the

particular case that disqualification is an appropriate means of enforcing the

applicable disciplinary rule, given the ends that the disciplinary rule is designed to

serve. Jordan, 337 F. Supp. 2d at 672 (citing, United States v. Miller, 624 F.2d

1198, 1201 (3d Cir.1980)).

        The party seeking disqualification bears the burden of showing that the

 representation is impermissible. Jordan, 337 F. Supp. 2d at 672 (citing, In re

 Rite Aid Corp. Sec. Litig., 139 F.Supp.2d 649, 656 (E.D.Pa.2001)). Any doubts

 regarding the existence of a violation of an ethical rule should be construed in

 favor of disqualification. Jordan, 337 F. Supp. 2d at 672 (citing, Int’l Bus. Mach.

 Corp. v. Levin, 579 F.2d 271, 283 (3d Cir.1987)); In re Rite Aid Corp., 139

 F.Supp.2d at 656; Reading Anthracite Co. v. Lehigh Coal & Navig. Co., 771

 F.Supp. 113, 115 (E.D.Pa.1991).

        “In determining whether disqualification is appropriate, the Court must . . .

 consider countervailing policies, such as permitting a litigant to retain his chosen

 counsel and enabling attorneys to practice without excessive restrictions.”


                                         30
          Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 31 of 45



     Jordan, 337 F. Supp. 2d at 672.

         The Pennsylvania courts have held that disqualification is a serious remedy

that should be used only when counsel’s conduct threatens to disrupt the fair trial

that due process requires. Sutch v. Roxborough Memorial Hospital, 151 A.3d 241,

255-56 (Pa. Super. 2017)(citing cases). Despite the seriousness of disqualification,

the courts have disqualified counsel when an ethical violation has occurred. Sutch,

151 A.3d at 256-57.

         Courts are empowered to impose as a sanction an award attorney fees and/or

costs to address expenses a party incurs as a result of a lawyer’s violation of the

Rules of Professional Conduct. Sutch, 151 A.3d at 260 (awarding as a sanction

attorneys’ fees and costs Plaintiff incurred in obtaining an order disqualifying

counsel for Defendant doctor)22. The Sutch Court awarded attorneys’ fees and

costs under on 42 Pa.C.S.A. §2503(7). Section 2503(7) authorizes an award of

counsel fees against “participant[s]” for “dilatory, obdurate or vexatious conduct

during the pendency of a matter.” Sutch, 151 A.3d at 260 (quoting, 42 Pa.C.S.A.

§2503(7)).      Sanctions in the form of attorney fees are justified when counsel

pursues issues or claims he/she knows, or should know, are baseless. Sutch, 151

A.3d at 260 (citing, Estate of Liscio, 432 Pa.Super. 440, 638 A.2d 1019, 1022


22
  See, Goodyear Tire & Rubber Co. v. Haeger, 137 S.Ct. 1178 (2017)(federal
court’s inherent power to impose sanctions, including attorneys’ fees).

                                          31
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 32 of 45



(1994).

IV.   ARGUMENT

      As demonstrated herein and in the Davis Opinion Letter (Exhibit D-165),

Attorney Cohn’s violation of the Rules of Professional Conduct requires his and

his firm’s disqualification as counsel for Plaintiffs and/or an award to Defendants

of attorneys’ fees and costs.23 The United States Supreme Court has held that

“[f]orce directed toward parties or witnesses to proceedings during their pendency

is so sinister and undermining of the process of adjudication itself that no court

should regard it with indifference or shelter it from exposure and inquiry.” NLRB

v. Indiana and M.E. Co., 318 U.S. 9, 29 (1942). Cohn has taken such actions

towards parties and witnesses.        Cohn communicated with the Individual

Defendants through School District Solicitors in emails he knew, or should have

known, would be shared directly with the Individual Defendants. In those emails,

he disparaged the Individual Defendants’ counsel in this case and discussed

matters that are at issue in this case. He threatened legal action against the third-

party School Districts when there is no legal or factual basis to do so, in order to


23
   As to attorneys’ fees, Defendants seek the fees incurred in responding to Cohn’s
violation of the Rules of Professional Conduct. This includes, but is not limited to,
the fees incurred in filing this Motion for Sanctions. If the Court determines that
attorney fees and costs should be awarded, Defendants will submit an appropriate
filing that identifies the fees and costs sought. At this point, the sanctions matter
continues, and Defendants continue to incur attorneys’ fees and costs as result of
Cohn’s violation of Rules of Professional Conduct.
                                         32
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 33 of 45



attack the attorney-client relationship of defendants and their counsel of record, to

improperly influence the decisions of defendants about directing the litigation, and

to intimidate witnesses. He used depositions to attack Defense counsel for the

purpose of undermining attorney-client relationships.        In doing all of this,

Plaintiffs’ counsel violated Rules of Professional Conduct 4.2, 3.4, 4.4 and 8.4, as

well as other Rules of Professional Conduct discussed in the Davis Opinion Letter.

As explained below, these violations require disqualification and/or sanctions in

the form of attorneys’ fees and costs.

      A.     Based Upon the Violation of Rule of Professional Conduct 4.2,
             Cohn and His Firm Should be Sanctioned Through
             Disqualification or an Award of Attorneys’ Fees and Costs

      As detailed here and the Davis Opinion Letter, Cohn violated Pa.R.P.C. 4.2,

which is titled “Communication with Person Represented by Counsel.”               As a

result, Cohn and his firm should be sanctioned through disqualification as

Plaintiffs’ counsel and/or an award to Defendants of attorneys’ fees and costs.

      Rule 4.2 states as follows:

      In representing a client, a lawyer shall not communicate about the
      subject of the representation with a person the lawyer knows to be
      represented by another lawyer in the matter, unless the lawyer has the
      consent of the other lawyer or is authorized to do so by law or a court
      order.

Pa.R.P.C. 4.2.

      The Explanatory Comment to Rule 4.2 explains:


                                         33
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 34 of 45



      This Rule contributes to the proper functioning of the legal system by
      protecting a person who has chosen to be represented by a lawyer in a
      matter against possible overreaching by other lawyers who are
      participating in the matter, interference by those lawyers with the
      client-lawyer relationship and the uncounseled disclosure of
      information relating to the representation.

Pa.R.C.P. 4.2, Explanatory Comment [1]. (Emphasis added)

      The Explanatory Comment to Rule 4.2 further instructs that “[a] lawyer may

not make a communication prohibited by this Rule through the acts of another.”

Rule 4.2 is, therefore, violated when a non-attorney acting at the behest of an

attorney communicates with a party in litigation who is represented by counsel.

U.S. v. McNaughton, 848 F. Supp. 1195, 1202-03 (E.D. Pa. 1994)(Rule 4.2

violated when an investigator, acting at the direction of government attorneys,

communicated directly with party who was represented by counsel).

      In this case, Cohn sent emails to School District Solicitors whom Cohn

knew, or should have known, had a duty to transmit those emails, or the

information contained therein, 24 to school boards of which the Individual

Defendants were members. Cohn improperly used the Solicitors as a vehicle for

communicating with the Individual Defendants about matters at issue in this case,

to disparage the Defendants’ counsel to the clients, and to disparage the legal

advice being given by defense counsel. Counsel for the Defendants in this case

24
  Rule 1.4(a)(3) provides that an attorney has a duty to “keep the client reasonably
informed about the status of the matter.” PA ST RPC Rule 1.4

                                         34
      Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 35 of 45



were not copied on those emails. In fact, by his own admission, Cohn intended

that the emails be kept from counsel for the Defendants in this case based upon

some sort of confidential “etiquette” that Cohn seems to have created in his own

mind. (Exhibits D-55 and D-57).

      Because of Cohn’s actions, he communicated with the Individual

Defendants out of the presence of their counsel in this case on matters of

importance and sensitivity at issue in this litigation. Cohn should have known that

his actions violated Rules of Professional Conduct. Indeed, Cohn should have

anticipated that the Individual Defendants would receive his emails, or the

information contained therein, and may react with alarm at being blamed for

exposing their School Districts to potentially large damages and having their

lawyers accused of incompetence and unethical behavior.            Cohn’s emails,

therefore, are precisely the kind of communications that Pa.R.P.C 4.2 prohibits:

overreaching communications with represented parties on issues in this litigation

that potentially interfere with the Individual Defendants’ relationship with their

lawyers.

      Given the number of Cohn’s email communications, and the persistence of

his conduct, the Court should sanction Cohn and his firm, through either

disqualification or an award to Defendants of attorneys’ fees and costs, “to assure

due process and fair trial are protected.” Sutch, 151 A.3d at 257. Cohn’s conduct


                                        35
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 36 of 45



demonstrates that absent disqualification or an award to Defendants of attorneys’

fees, he will not be “dissuaded from “continuing . . . tactics” that seek to interfere

with witnesses and disrupt the relationship of the Individual Defendants and their

counsel. Sutch, 151 A.3d at 257.

      For this reason, this Court should disqualify and/or award attorneys’ fees

against Cohn and his firm based upon a violation of Pa.R.P.C. 4.2.

      B.     Based Upon the Violation of Rule of Professional Conduct 3.4,
             Cohn and His Firm Should be Sanctioned Through
             Disqualification or an Award of Attorneys’ Fees and Costs

      Cohn violated Pa.R.P.C. 3.4, which is titled “Fairness to Opposing Party and

Counsel.”    As a result, Cohn and his firm should be sanctioned through

disqualification as counsel for Plaintiffs or an award to Defendants of attorneys’

fees and costs.

      Rule 3.4(a) directs that:

      A lawyer shall not:

      (a) unlawfully obstruct another party’s access to evidence or
      unlawfully alter, destroy or conceal a document or other material
      having potential evidentiary value or assist another person to do any
      such act;

Pa.R.P.C. 3.4(a).

      In Sutch, the Court found that an attorney for a medical malpractice

defendant violated Pa. R.P.C. 3.4(a), and sanctioned that attorney through

disqualification and the payment of attorney’s fees, because the attorney sent a
                                          36
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 37 of 45



series of letters regarding Plaintiff’s expert medical witness to the General

Counsel of the hospital where the expert witness was employed. In the letters, the

lawyer attacked the expert’s testimony as “untenable” and asserted that the expert

was exposing the hospital to liability. Sutch, 151 A.3d at 246, 257. The Court

held that counsel’s threatening letters violated Pa.R.C.P. 3.4(a), as they had the

effect of obstructing another party’s access to evidence. Sutch, 151 A.3d at 257.

      At bar, acting in an eerily similar manner, Cohn wrote to the Solicitors for

School Districts that have Board members who serve on PSBA’s Governing

Board. Cohn threatened to sue the Districts based upon the involvement of their

Board members with PSBA. Cohn knew, or should have known, that his threats

may intimidate School District officials, especially Board members, who are

potential witnesses on the subjects listed above. Witnesses can be intimidated.

Cohn recognizes that the Board members are witnesses. (Pls’ Initial Disclosures,

p.4, Exhibit D-64). In the wake of Cohn’s threats, Defendants cannot know

what witnesses may have information -- potentially valuable information -- that

could support the defenses to Plaintiffs’ claims but will not come forward out of

fear of the legal consequences of doing so. 25 This is a real and serious harm


25
  Indeed, as an officer of the Court, Mr. Levin can report that one potential witness
declined to provide an Affidavit or Declaration in this case precisely because of the
threats by Cohn. This occurred on June 29, 2018. The affidavit or declaration
would have been used in support of the Motion for Summary Judgment.

                                         37
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 38 of 45



that Cohn’s conduct has caused.

      For these reasons, the Court should hold that Cohn and his firm violated Pa.

R.C.P. 3.4(a) such that they should be disqualified as counsel for Plaintiffs or

sanctioned through the imposition of attorneys’ fees and costs.

      C.     Based Upon the Violation of Rule of Professional Conduct 4.4,
             Cohn and His Firm Should be Sanctioned Through
             Disqualification or an Award of Attorneys’ Fees and Costs

      As explained here and in the Davis Opinion Letter (Exhibit D-165), Cohn

violated Pa.R.P.C. 4.4, which is titled “Respect for Rights of Third Parties.” As a

result, Cohn and his firm should be sanctioned through disqualification as counsel

for Plaintiffs and/or an award to Defendants of attorneys’ fees and costs.

      Rule 4.4(a) directs that “[i]n representing a client, a lawyer shall not use

means that have no substantial purpose other than to embarrass, delay, or burden a

third person, or use methods of obtaining evidence that violate the legal rights of

such a person.”

      In Sutch, discussed above, that Court held that the attorneys’ threatening

letters to the General Counsel of a hospital that employed a medical malpractice

Plaintiff’s expert witness violated Pa.R.P.C. 4.4. As previously explained, the

letters attacked the opinion being proffered by the plaintiff’s expert witness and

asserted that the expert witness may lead to liability for the hospital. The Court

concluded that the threats had no other “substantial purpose” than to “embarrass,


                                         38
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 39 of 45



delay or burden” the plaintiff. Sutch, 151 A.3d at 257 (citations omitted). The

Court concluded that the “only purpose for [the] letters was to advance [defense

counsel’s] goal of forcing [the expert] to change her testimony or refrain from

testifying.” Sutch, 151 A.3d at 257 (brackets added).

      As in Sutch, there are no legitimate legal or factual grounds for Cohn’s

threats against School Districts or his disparagement of the Individual Defendants’

counsel. Cohn’s threats against them have no other purpose than to embarrass and

burden the Districts and their officials with accusations of unlawful conduct and

liability for same.

      When Cohn sent his threatening emails to the School District Solicitors in

mid-May 2018, no information had been developed through discovery on the

supposed responsibility of the School Districts, and their Boards, for the state court

lawsuit against Campbell and Pennsylvanians for Union Reform. Cohn, therefore,

made his litigation threats before he had any evidence to support the threats. (He

still has no evidence.). His threats against the School Districts are, quite plainly,

frivolous.

      Cohn’s intention to embarrass and burden the School Districts is also evident

given that his litigation threats are premised upon a theory of liability for which

there is no support under Pennsylvania law. Cohn posits a flawed legal theory that

School Districts are liable to Plaintiffs because they ratified PSBA’s State Tort


                                         39
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 40 of 45



Action by remaining members of PSBA rather than cancelling memberships in the

organization so that the School Districts’ Board members can no longer serve on

PSBA’s Board. (May 13 Email, Exhibit D-39).

      In Pennsylvania, a member of a nonprofit corporation is not liable for the

corporation’s actions based on membership in the corporation alone. 15 Pa.C.S.A.

§5553(a), titled “Liabilities of members,” states as follows:

      (a) General rule. -- A member of a nonprofit corporation shall not be
      liable, solely by reason of being a member, under an order of a court
      or in any other manner for a debt, obligation or liability of the
      corporation of any kind or for the acts of any member or
      representative of the corporation.

15 Pa.C.S.A. §5553(a)(emphasis added).

      To be liable for acts of a nonprofit corporation, its members must have taken

some action beyond maintaining their memberships. Fraim v. Katz, 68 Pa. D. &

C.2d 567, 574 (Phila. CCP 1975); In re Mushroom Direct Purchaser Litigation,

514 F. Supp. 2d 683 n. 13 (E.D. Pa. 2007); In re Mushroom Direct Purchaser

Litigation, 2008 WL 583906, *3 (E.D. Pa. 2008).            But, in the face of this

governing law, Cohn maintains that all that is needed to impose liability is for the

School Districts to remain PSBA members. (May 13 Email, Exhibit D-39). Cohn’s

position on ratification, therefore, is baseless.

      Moreover, as members of PSBA, a nonprofit corporation, the School

Districts had to have knowledge of the lawsuit and the power to file the lawsuit


                                            40
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 41 of 45



themselves. Schwartz v. Mahoning Valley Country Club, 114 A.2d 78, 80 (Pa.

1955); Sword v. Reformed Congregation of Kennesth Israel, 29 Pa. Super. 626,

630 (Pa. Super. 1905)(“Ratification implies knowledge of the material facts, and to

be effective must be made by persons having the power to perform the act which is

the subject of ratification.”). Cohn cannot credibly claim that the School Districts

as members of the PSBA have such knowledge or power.

      Cohn’s assertion that the School Districts should cancel their memberships

in PSBA to avoid liability has no purpose other than to embarrass and burden the

Districts. (June 23 Email, Exhibit D-80). The Districts’ presence or absence from

PSBA membership will have no effect on the State Tort Action.           It appears,

therefore, that Cohn’s exhortations for School Districts to leave PSBA are intended

to harm PSBA by encouraging members to leave the organization.

      Finally, Cohn’s highly personal attacks on Michael I. Levin, Susan Weiner

and B&L have no purpose other than to cause those counsel embarrasment and

disrupt the attorney-client relationships with PSBA. Cohn seems unconcerned

with causing damage to other lawyers’ professional reputations. There is no reason

to treat counsel in that highly inappropriate manner.

      For these reasons, Cohn and his firm should be sanctioned for violating Pa.

R.P.C. 4.4 either through disqualification and/or an award to Defendants of

attorneys’ fees and costs.


                                         41
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 42 of 45



      D.      Based Upon the Violation of Rule of Professional Conduct 8.4,
              Cohn and His Firm Should be Sanctioned Through
              Disqualification or an Award of Attorneys’ Fees and Costs

      As explained here and in the Davis Opinion Letter (Exhibit D-165), Cohn

violated Pa.R.P.C. 8.426, which is titled “Misconduct.” As a result, Cohn and his

firm should be sanctioned through disqualification as counsel for Plaintiffs and/or

an award to Defendants of attorneys’ fees and costs.

      Rule 8.4 states as follows:

      It is professional misconduct for a lawyer to:

      (a) violate or attempt to violate the Rules of Professional Conduct,
      knowingly assist or induce another to do so, or do so through the acts
      of another;

      *            *            *

      (d) engage in conduct that is prejudicial to the administration of
      justice . . .

Pa. R.P.C. 8.4(a) and (d).

      By its plain language, Pa.R.P.C. 8.4 serves as a check on improper and

unethical actions such as “conduct that is prejudicial to the administration of

justice.” Pa.R.P.C. 8.4(d).

      Here,    Cohn     communicated      indirectly   with   represented    parties,

26
   The Davis Opinion letter, pp. 9-10 (Exhibit D-165) also explains how Cohn
violated Pa.R.P.C. 4.1, which provides that “in the course of representing a client a
lawyer shall not knowingly: (a) make false statement of fact or law to a third
person . . .”

                                         42
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 43 of 45



communicated with potential witnesses in an intimidating manner, 27 and

disparaged counsel for the Defendants apparently to disrupt the attorney-client

relationship. Indeed, Cohn directly attacked the ethics and competence of Defense

counsel directly to their clients. This is precisely the kind of conduct that Rule 8.4

is designed to address – conduct that violates Rules of Professional Conduct and

interferes with the proper administration of justice. It is similar in nature to the

conduct for which the Sutch Court disqualified and awarded attorney’s fees against

a lawyer under Pa.R.P.C. 8.4. It is clear from Cohn’s course of conduct that,

without the imposition of sanctions, he will continue to pursue the same course of

conduct.

      For these reasons, Cohn and his firm should be sanctioned for the violation

Pa.R.P.C. 8.4 through disqualification or an award to Defendants of attorneys’ fees

and costs.




27
   Cohn used deposition questions to intimidate Individual Defendants. In one
instance, he used deposition questions to falsely suggest to Defendant Swope that,
if punitive damages were awarded against her, those damages would have to be
paid from her own assets and could not be paid by PSBA. (Swope Depo., p. 261-
263, Exhibit D-87).
                                         43
      Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 44 of 45



I.    CONCLUSION

      For all the reasons stated above, the Defendants respectfully request that this

Court grant the Motion and disqualify Cohn and his firm and award Defendants

their attorneys’ fees, costs, and such further relief in their favor that the Court

deems appropriate.

                                              Respectfully submitted,


Date: July 20, 2018                           /s/ Craig D. Ginsburg
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                                         44
       Case 2:18-cv-00892-JD Document 55-2 Filed 07/20/18 Page 45 of 45



                         CERTIFICATE OF SERVICE

      I hereby certify that, on this 20th day of July 2018, I electronically

transmitted the foregoing Motion for Sanctions and the accompanying

Memorandum of Law to be filed to the Clerk’s Office using the Court’s Electronic

Case Filing system (“ECF”) for filing and transmittal of a Notice of Electronic

Case Filing to all counsel via the ECF, in accordance with Fed. R. Civ. P. 5(b) and

E.D. Pa. L.R. 5.1.2.


                                             /s/Craig D. Ginsburg
                                             Craig D. Ginsburg




                                        45
